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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA


JESUS LUGO,                                 )
                                            )
              Petitioner,                   )
                                            )
                                            )       CIV-05-1268-F
v.                                          )
                                            )
JUSTIN JONES,                               )
                                            )
              Respondent.                   )

                            REPORT AND RECOMMENDATION

       Petitioner, a state prisoner appearing pro se, has filed this Petition for a Writ of

Habeas Corpus pursuant to 28 U.S.C. § 2241. Petitioner alleges constitutional deprivations

related to institutional disciplinary proceedings conducted at the Lawton Correctional Facility

(“LCF”) where he is currently confined. Respondent has responded to the Petition, and

Petitioner has filed a Reply. The matter has been referred to the undersigned Magistrate

Judge for initial proceedings consistent with 28 U.S.C. § 636(b)(1)(B). For the following

reasons, it is recommended that the Petition be DENIED in part and DISMISSED in part

without prejudice for failure to exhaust available administrative and state court remedies.

       In his Petition, Petitioner alleges that he was found guilty in a disciplinary proceeding

conducted at LCF of the misconduct of Individual Disruptive Behavior and that on October

18, 2005, the Oklahoma Department of Corrections (“DOC”) Director’s Designee Debbie

Morton vacated the finding of guilt and remanded the matter to LCF for a rehearing. Plaintiff


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contends that after the order vacating the misconduct was entered “LCF officials have not

restored petitioner’s lost earned credits (120 days), earned level (earning rate), visitation, or

privileges” and have “refused to reinstate” Petitioner to a drug treatment program, the

Therapeutic Community Drug Rehabilitation program.               In response to the Petition,

Respondent contends that a rehearing has been conducted at LCF, that Petitioner has again

been found guilty of the misconduct, and that the same sanctions have been imposed upon

Petitioner as were imposed in the original disciplinary hearing. Because Petitioner has not

appealed the finding of guilt in the disciplinary rehearing, Respondent seeks dismissal of the

petition for failure to exhaust administrative and state court remedies. In his Reply to the

Response, Petitioner contends that he intends to exhaust his administrative remedies

concerning the disciplinary rehearing decision but that “there is no available [state court]

remedy adequate to protect petitioner’s constitutional rights.”

       It is important first to address the actual due process claims being asserted by

Petitioner. Petitioner’s claim in his Petition is not that his due process rights were violated

in the original disciplinary hearing conducted at LCF. Rather, Petitioner’s claim in the

Petition is that the sanctions imposed by LCF officials for the disciplinary misconduct were

overturned on appeal and his due process rights have been violated because LCF officials

failed to vacate the sanctions imposed in the original disciplinary proceeding and refused to

reinstate Petitioner as a participant in a drug treatment program. There is nothing in the

record showing that Petitioner was actually a participant in or removed from participation

in a drug treatment program at LCF. However, in his Reply to the Response, Petitioner

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admits that after he filed the instant Petition LCF officials did reinstate him as a participant

in a drug treatment program. Moreover, Plaintiff admits that less than two weeks following

the entry of the order vacating the original disciplinary hearing decision LCF officials

conducted a rehearing and again found Petitioner guilty of the misconduct and imposed the

same sanctions as were imposed in the original disciplinary hearing.

       It is now firmly established in this circuit that, at least for an Oklahoma inmate in

DOC custody, a misconduct conviction “infringe[s] a liberty interest because it reduce[s] his

credit earning class in a manner that ‘inevitably affect[s] the duration of his sentence.’”

Wilson v. Jones, 430 F.3d 1113 (10th Cir. 2005).1 Petitioner has not shown that the failure

of LCF officials to vacate the previously-imposed disciplinary sanctions during the short

period of time between the DOC Director’s decision and the rehearing conducted at LCF

either (1) affected the duration of his sentence or (2) subjected him to conditions that

“impose[ ] atypical and significant hardship on the inmate in relation to the ordinary

incidents of prison life.” Sandin v. Conner, 515 U.S. 472, 484 (1995). The original

disciplinary hearing was conducted on June 21, 2005, for the misconduct of June 7, 2005.

The sanctions imposed upon Petitioner based on the finding of guilt included a reduction in

his earned classification level to level one for sixty days. A copy of Petitioner’s prison

record attached to Respondent’s Response reflects that his earned credit classification level

was indeed reduced to level one effective May 18, 2005, for a misconduct conviction and



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        Note that publication page references are not yet available for this decision.

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again reduced to level one effective June 7, 2005, for another misconduct conviction, that 96

earned credits were removed from his sentence calculation (with the notation that these were

all of the earned credits that Petitioner could lose) in June 2005, and that his earned credit

status was subsequently increased to level two on October 1, 2005. If Petitioner had been

found not guilty in the rehearing conducted in November 2005, he might have a due process

claim for a deprivation of his liberty interest in his earned credits and earned credit level

status. However, the finding of guilt in the rehearing has not been overturned, and the

sanctions imposed in the rehearing mirrored those imposed in the original disciplinary

hearing. Accordingly, in view of the rehearing decision, Petitioner’s claim of a deprivation

of a liberty interest due to the DOC Director’s vacation of the original misconduct conviction

is without merit.

       Moreover, to the extent the pro se Petition can be construed to assert a deprivation of

due process with respect to the disciplinary proceeding, the finding of guilt, and the sanctions

imposed in the rehearing, Petitioner has not exhausted administrative or state court remedies

available to him. Exhaustion of available state remedies is generally required for petitions

brought under 28 U.S.C. §2241. Montez v. McKinna, 208 F.3d 862, 866 (10th Cir. 2000)(“A

habeas petitioner is generally required to exhaust state remedies whether his action is brought

under §2241 or §2254.”). As the Tenth Circuit Court of Appeals has explained:

              No statutory exhaustion requirement applies to § 2241, but case
              law holds “that although section 2241 establishes jurisdiction in
              the federal court to consider pre-trial habeas corpus petitions,
              federal courts should abstain from the exercise of that
              jurisdiction if the issues raised in the petition may be resolved

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                 either by trial on the merits in the state court or by other state
                 procedures available to the petitioner.”

Capps v. Sullivan, 13 F.3d 350, 354 n.2 (10th Cir. 1993) (citations omitted). Under §2241,

the petitioner bears the burden of showing that he has exhausted available state remedies.

See Hamm v. Saffle, 300 F.3d 1213, 1216 (10th Cir. 2002). “The exhaustion doctrine

requires a state prisoner to ‘fairly present[]’ his or her claims to the state courts before a

federal court will examine them.” Demarest v. Price, 130 F.3d 922, 932 (10th Cir. 1997)

(citations omitted).

       Because Petitioner obtained relief in his appeal of the original disciplinary proceeding

in the form of an order vacating the original disciplinary decision and remanding for a

rehearing on the issue of his innocence or guilt, and because a rehearing has been conducted

following the filing of the instant Petition, any claim of a due process deprivation with

respect to the disciplinary misconduct is premature until Petitioner has exhausted the well-

established administrative remedies for inmates provided by DOC as well as the state court

remedy provided in Okla. Stat. tit. 57, §564.1.

       Section 564.1 of the Oklahoma Statutes, title 57, effective May 10, 2005, provides in

relevant part:

                 In those instances of prison disciplinary proceedings that result
                 in the revocation of earned credits, the prisoner, after exhausting
                 administrative remedies, may seek judicial review in the district
                 court of the official residence of the Department of Corrections.

Okla. Stat. tit. 57, §564.1(A)(Supp. 2005).          Petitioner’s contention that the state court

remedy provided in Okla. Stat. tit. §57, 564.1 is not an adequate remedy is without merit.

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Petitioner relies on the Tenth Circuit Court of Appeals decision in Gamble v. Calbone, 375

F.3d 1021 (10th Cir. 2004). That decision, in which the appellate court concluded that

Oklahoma inmates were not required to exhaust state court remedies given the absence of an

avenue for direct judicial review of a disciplinary decision revoking earned credits, pre-dates

the enactment of Okla. Stat. tit. 57, § 564.1. This new statute provides Oklahoma inmates

with the judicial remedy that was previously lacking for review of disciplinary decisions

involving the revocation of their earned credits. It is thus an adequate remedy that must be

exhausted before Oklahoma inmates seek federal habeas relief under 28 U.S.C. § 2241 with

respect to institutional disciplinary proceedings. To the extent the instant Petition can be

construed to assert due process claims with respect to the disciplinary proceeding, the finding

of guilt, and the sanctions imposed for the misconduct in the rehearing conducted at LCF,

the Petition should be dismissed without prejudice for failure to exhaust available

administrative and state court remedies.

                                  RECOMMENDATION

       Based on the foregoing findings, it is recommended that the Petition for a Writ of

Habeas Corpus pursuant to 28 U.S.C. § 2241 be DENIED in part and DISMISSED in part

without prejudice for failure to exhaust available administrative and state court remedies.

Petitioner is advised of his right to file an objection to this Report and Recommendation with

the Clerk of this Court by    January 31st    , 2006, in accordance with 28 U.S.C. § 636 and

LCvR 72.1. The Petitioner is further advised that failure to make timely objection to this

Report and Recommendation waives his right to appellate review of both factual and legal

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issues contained herein. Moore v. United States of America, 950 F.2d 656 (10th Cir. 1991).

      This Report and Recommendation disposes of all issues referred to the undersigned

Magistrate Judge in the captioned matter.

      ENTERED this        11th    day of        January   , 2006.




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